                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                        Civil Action No.: 3:17-cv-00732-MOC-DSC


HYUNDAI MOTOR AMERICA, INC. a
California corporation, HYUNDAI MOTOR
COMPANY, a Korean corporation,

               Plaintiffs and
               Counterdefendants,

vs.

DIRECT TECHNOLOGIES
INTERNATIONAL, INC. dba DTI, INC., a
Florida corporation,

               Defendant and
               Counterclaimant.



 PLAINTIFFS AND COUNTER-DEFENDANTS HYUNDAI MOTOR AMERICA, INC.
     AND HYUNDAI MOTOR COMPANY’S ANSWER TO DEFENDANT AND
   COUNTERCLAIMANT DIRECT TECHNOLOGIES INTERNATIONAL, INC.’S
                         COUNTERCLAIM

       Plaintiffs and Counterdefendants Hyundai Motor America, Inc. and Hyundai Motor

Company (collectively called “Hyundai” and/or “Plaintiffs”) hereby answer Defendant and
Counterclaimant Direct Technologies International, Inc. dba DTI, Inc. (“DTI”) as follows:


                           NATURE OF THE COUNTERCLAIMS

       1.      Paragraph 1 of DTI’s Counterclaims consists of legal argument, legal conclusions,

and DTI’s characterization of its own Counterclaims, to which no response is required. To the

extent a response is required, the allegations of Paragraph 1 are denied




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       2.      Paragraph 2 of DTI’s Counterclaims consists of legal argument, legal conclusions,

and DTI’s characterization of its own Counterclaims, to which no response is required. To the

extent a response is required, the allegations of Paragraph 2 are denied.

       3.      Hyundai denies the allegations of Paragraph 3 of DTI’s Counterclaims.

       4.      Hyundai admits that DTI’s Counterclaims seek injunctive relief. Except as

admitted, Hyundai denies all allegations in Paragraph 4 of DTI’s Counterclaims.

       5.      Hyundai admits that DTI’s Counterclaims seek damages, including treble

damages, and other relief. Except as admitted, Hyundai denies all allegations in Paragraph 5 of

DTI’s Counterclaims.

                           PARTIES, JURISDICTION, AND VENUE

       6.      Hyundai admits that DTI is a Florida Corporation doing business in this District

and that DTI has, and continues to, unlawfully import and sell motor vehicle parts manufactured

and branded with Hyundai trademarks. To the extent the remaining allegations of Paragraph 6 of

DTI’s Counterclaims are vague or unclear, Hyundai denies them.

       7.      Hyundai admits that Hyundai Motor America (“HMA”), which the Counterclaims

define as “Hyundai USA,” is a California corporation in good standing.

       8.      Hyundai admits that Hyundai Motor Company (“HMC”), which DTI’s

Counterclaims define as “Hyundai International,” is a Korean company located in Seoul,

Republic of Korea that owns certain trademarks associated with Hyundai brand motor vehicles

and parts. Hyundai admits that it, through its suppliers, subsidiaries, affiliates, distributors, and

dealer networks, manufactures and sells automobiles and replacement parts for those

automobiles under the Hyundai brand.




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          9.      Hyundai admits that the allegations of Paragraph 9 to DTI’s Counterclaims

accurately describes the allegations of the First Amended Complaint in this action.

          10.     Hyundai admits that it conducts business in this Judicial District and within this

Division. Hyundai admits that it imports and sells automobiles and automobile parts which were

manufactured and branded with Hyundai trademarks. Except as admitted, the allegations of

Paragraph 10 of DTI’s Counterclaim are denied.

          11.     To the extent Paragraph 11 of DTI’s Counterclaims does not contain any charging

allegations against Hyundai and instead describe the relief sought by DTI’s Counterclaims, no

admission or denial is required. However, Hyundai admits this Court has jurisdiction to

adjudicate DTI’s Counterclaims and that venue is proper in this Court.

                             FACTUAL BACKGROUND
                THE REPLACEMENT MARKET FOR HYUNDAI AUTOMOBILES

          12.     Hyundai admits that it entered the United States market at least as early as 1986

and that is has enjoyed significant growth in the United States market in the last decade. Except

as admitted, the allegations of Paragraph 10 of DTI’s Counterclaim are denied.

          13.     Hyundai admits that it sold approximately the number of new Hyundai vehicles

referenced in Paragraph 13 of DTI’s Counterclaims between 2013 and 2017. Hyundai denies the

remainder of the allegations of Paragraph 13.

          14.     Hyundai admits there are millions of new and used Hyundai cars in the United

States. Hyundai admits that to the best of its knowledge, Hyundai cars are found in every state in

the United States.

          15.     Hyundai admits that Hyundai vehicles, with use, will ordinarily require

replacement parts, some of which may be routinely replaced, such as oil filters and serpentine

belts.



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       16.     Hyundai admits that in so far as it may be considered by some to be a

“replacement part,” a part must geometrically fit onto a vehicle as had the original part. To the

extent that Paragraph 16 by, among other things, the use of “must” intends to suggest that fit

alone defines the requirements for the market for Hyundai replacement parts, Hyundai denies

those allegations.

       17.     Hyundai admits the allegations of Paragraph 17 of DTI’s Counterclaims with the

same qualifier described in Paragraph 16 above.

                        HYUNDAI’S ALLEGED UNLAWFUL ACTS

       18.     Hyundai admits the allegations of Paragraph 18 of DTI’s Counterclaims.

       19.     Hyundai admits the allegations of Paragraph 19 of DTI’s Counterclaims.

       20.     Hyundai admits the allegations of Paragraph 20 of DTI’s Counterclaims.

       21.     HMA admits that it has a written agreement with its authorized dealers that

governs their mutual expectations regarding, among other things, the use of Hyundai Genuine

Parts in connection with service to customer vehicles backed by Hyundai warranties. Hyundai

otherwise denies the vague allegations of Paragraph 21 of DTI’s Counterclaims.

       22.     HMC admits that it ordinarily has a written agreement with authorized

distributors of Hyundai motor vehicles and parts outside of the United States and that while those

agreements are individually negotiated, they often contain terms governing the expected

operations of such authorized distributors which may include geographic restrictions. Hyundai

otherwise denies the vague allegations of Paragraph 22 of DTI’s Counterclaims.

       23.     Hyundai admits that documents describing the vehicle warranties accompanying

vehicles sold to customers in the United States speak for themselves. Hyundai otherwise denies

the allegations of Paragraph 23 of DTI’s Counterclaims.




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        24.    Hyundai denies the vague allegations of Paragraph 24 of DTI’s Counterclaims.

        25.    Hyundai admits that the FTC sent a letter to Hyundai on or about April 9, 2018.

Hyundai denies the remaining allegations of Paragraph 25 of DTI’s Counterclaims.

        26.    Hyundai admits that the referenced FTC letter purports to reference a non-

specified or identified statement by Hyundai. Hyundai denies the remaining allegations of

Paragraph 26 of DTI’s Counterclaims.

        27.    Hyundai denies the allegations of Paragraph 27 of DTI’s Counterclaims.

        28.    Hyundai admits that DTI is a seller of illegal gray market Hyundai-branded

replacement parts, as well as of other manufacturers. Hyundai denies the remaining allegations

of Paragraph 28 of DTI’s Counterclaims.

        29.    Hyundai lacks knowledge or information sufficient to form a belief about the truth

of the allegations in Paragraph 29 of DTI’s Counterclaims and on that basis denies the

allegations.

        30.    Hyundai admits that it considers DTI’s selling of illegal gray market Hyundai-

branded replacement parts to be a violation of Hyundai’s rights, as alleged in the First Amended

Complaint. Hyundai denies the remaining allegations of Paragraph 30 of DTI’s Counterclaims.

        31.    Hyundai denies the allegations of Paragraph 31 of DTI’s Counterclaims.

        32.    Hyundai lacks knowledge or information sufficient to form a belief about the truth

of the allegations in Paragraph 32 of DTI’s Counterclaims and on that basis denies the

allegations. Hyundai denies that it is responsible for any lost sales or other injuries alleged by

DTI.




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             FIRST COUNTERCLAIM: ILLEGAL RESTRAINT OF TRADE
                       (Sherman Antitrust Act 15 U.S.C. § 1)

       33.     Hyundai realleges and incorporates its responses to the allegations of Paragraphs

1 to 32 of DTI’s Counterclaims as if fully set forth herein.

       34.     Hyundai denies the allegations of Paragraph 34 of DTI’s Counterclaims.

       35.     Hyundai denies the allegations of Paragraph 35 of DTI’s Counterclaims.

       36.     Hyundai denies the allegations of Paragraph 36 of DTI’s Counterclaims.

       37.     Hyundai denies the allegations of Paragraph 37 of DTI’s Counterclaims.

       38.     Hyundai denies the allegations of Paragraph 38 of DTI’s Counterclaims.

       39.     Hyundai denies the allegations of Paragraph 39 of DTI’s Counterclaims.

       40.     Hyundai denies the allegations of Paragraph 40 of DTI’s Counterclaims.

       41.     Hyundai denies the allegations of Paragraph 41 of DTI’s Counterclaims.

       42.     Hyundai denies the allegations of Paragraph 42 of DTI’s Counterclaims.

       43.     Hyundai admits that the FTC sent a letter to Hyundai on or about April 9, 2018.

Hyundai denies the remaining allegations of Paragraph 43 of DTI’s Counterclaims.

       44.     The allegations of Paragraph 44 of DTI’s Counterclaims state a legal conclusion

that does not require an admission or denial. However, to the extent such allegations could be

construed to include factual allegations, Hyundai denies them.

       45.     Hyundai admits that the referenced FTC letter purports to reference a non-

specified or identified statement by Hyundai. Hyundai denies the remaining allegations of

Paragraph 45 of DTI’s Counterclaims.

       46.     Hyundai denies the allegations of Paragraph 46 of DTI’s Counterclaims.

       47.     Hyundai denies the allegations of Paragraph 47 of DTI’s Counterclaims.




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       48.     HMA admits that it transacts substantial business with its authorized dealers in the

United States, including in connection with the sale of Hyundai Genuine Parts. Except as so

admitted, Hyundai believes the allegations of Paragraph 48 of DTI’s Counterclaims constitute a

legal conclusion to which no admission or denial is required, and, to the extent such allegations

could be construed to include factual allegations, they are unclear and unintelligible, and

Hyundai denies them.

       49.     The allegations of Paragraph 49 of DTI’s Counterclaims is a legal conclusion that

does not require an admission or denial. However, to the extent such allegations could be

construed to include factual allegations, Hyundai denies them.

       50.     The allegations of Paragraph 50 of DTI’s Counterclaims is a legal conclusion that

does not require an admission or denial. However, to the extent such allegations could be

construed to include factual allegations, Hyundai denies them.

                  SECOND COUNTERCLAIM: ILLEGAL MONOPOLY
                        (Sherman Antitrust Act 15 U.S.C. § 2)

       51.     Hyundai realleges and incorporates its responses to the allegations of Paragraphs

1 to 50 of DTI’s Counterclaims as if fully set forth herein.

       52.     Hyundai denies the allegations of Paragraph 52 of DTI’s Counterclaims.

       53.     Hyundai denies the allegations of Paragraph 53 of DTI’s Counterclaims.

       54.     Hyundai denies the allegations of Paragraph 54 of DTI’s Counterclaims.

       55.     Hyundai denies the allegations of Paragraph 55 of DTI’s Counterclaims.

       56.     Hyundai denies the allegations of Paragraph 56 of DTI’s Counterclaims.

       57.     Hyundai denies the allegations of Paragraph 57 of DTI’s Counterclaims.




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       58.     The allegations of Paragraph 58 of DTI’s Counterclaims is a legal conclusion that

does not require an admission or denial. However, to the extent such allegations could be

construed to include factual allegations, Hyundai denies them.

       59.     Hyundai denies the allegations of Paragraph 59 of DTI’s Counterclaims.

             THIRD COUNTERCLAIM: EXCLUSIVE DEALING AGREEMENT
                           (Clayton Act 15 U.S.C. § 14)

       60.     Hyundai realleges and incorporates its responses to the allegations of Paragraphs

1 to 59 of DTI’s Counterclaims as if fully set forth herein.

       61.     The allegations of Paragraph 61 of DTI’s Counterclaims state a legal conclusion

that does not require an admission or denial. However, to the extent such allegations could be

construed to include factual allegations, Hyundai denies them.

       62.     Hyundai denies the allegations of Paragraph 62 of DTI’s Counterclaims.

       63.     Hyundai denies the allegations of Paragraph 63 of DTI’s Counterclaims.

       64.     Hyundai denies the allegations of Paragraph 64 of DTI’s Counterclaims.

FOURTH COUNTERCLAIM: FALSE ADVERTISING AND UNFAIR COMPETITION
                  (Lanham Act 15 U.S.C. § 1125(a))

       65.     Hyundai realleges and incorporates its responses to the allegations of Paragraphs

1 to 64 of DTI’s Counterclaims as if fully set forth herein.

       66.     Hyundai denies the allegations of Paragraph 64 of DTI’s Counterclaims.

       67.     The allegations of Paragraph 67 of DTI’s Counterclaims state a legal conclusion

that does not require an admission or denial. However, to the extent such allegations could be

construed to include factual allegations, Hyundai denies them.

       68.     Hyundai denies the allegations of Paragraph 68 of DTI’s Counterclaims.




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       69.     To the extent Paragraph 69 of DTI’s Counterclaims does not contain any charging

allegations against Hyundai and instead quote from the FTC Act, no admission or denial is

required. To the extent there are any factual allegations in this paragraph, Hyundai denies them.

       70.     Hyundai admits that the FTC sent a letter to Hyundai on or about April 9, 2018.

Hyundai denies the remaining allegations of Paragraph 43 of DTI’s Counterclaims.

       71.     Hyundai admits that the referenced FTC letter purports to reference a non-

specified or identified statement by Hyundai. Hyundai denies the remaining allegations of

Paragraph 71 of DTI’s Counterclaims.

       72.     Hyundai denies the allegations of Paragraph 72 of DTI’s Counterclaims.

       73.     Hyundai denies the allegations of Paragraph 73 of DTI’s Counterclaims.

       74.     Hyundai denies the allegations of Paragraph 74 of DTI’s Counterclaims.

       75.     Hyundai denies the allegations of Paragraph 75 of DTI’s Counterclaims.

       76.     Hyundai lacks knowledge or information sufficient to form a belief about the truth

of the allegations in Paragraph 76 of DTI’s Counterclaims and on that basis denies the

allegations. Hyundai denies that it is liable for any dealers’ refusal to purchase parts from DTI.

       77.     Hyundai denies the allegations of Paragraph 77 of DTI’s Counterclaims.

                   FIFTH COUNTERCLAIM: UNFAIR COMPETITION
                         (North Carolina Gen. Stat. 75-1.1 et seq.)

       78.     Hyundai realleges and incorporates its responses to the allegations of Paragraphs

1 to 77 of DTI’s Counterclaims as if fully set forth herein.

       79.     Hyundai denies the allegations of Paragraph 79 of DTI’s Counterclaims.

       80.     Hyundai denies the allegations of Paragraph 80 of DTI’s Counterclaims.

       81.     Hyundai denies the allegations of Paragraph 81 of DTI’s Counterclaims.

       82.     Hyundai denies the allegations of Paragraph 82 of DTI’s Counterclaims.



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       83.     Hyundai the allegations of Paragraph 83 of DTI’s Counterclaims.

             SIXTH COUNTERCLAIM: NORTH CAROLINA COMMON LAW
                           UNFAIR COMPETITION

       84.     Hyundai realleges and incorporates its responses to the allegations of Paragraphs

1 to 83 of DTI’s Counterclaims as if fully set forth herein.

       85.     Hyundai denies the allegations of Paragraph 85 of DTI’s Counterclaims.

                                    PRAYER FOR RELIEF

       To the extent any response is required to any paragraph of DTI’s Prayer for Relief in its

Counterclaims, Hyundai asserts that DTI is not entitled to any such requested relief or remedy.



       EXCEPT AS EXPRESSLY ADMITTED HEREIN, ALL ALLEGATIONS BY DTI

ARE DENIED.

                                           DEFENSES

       Without assuming any burden that it would not otherwise bear, Hyundai asserts the

following general affirmative and/or additional defenses to the claims for relief alleged in DTI’s

Counterclaims.

                                        FIRST DEFENSE

       DTI’s Counterclaims fails to state a claim upon which relief can be granted.

                                      SECOND DEFENSE

       DTI lacks standing to bring the claims asserted in DTI’s Counterclaims.

                                       THIRD DEFENSE

       DTI’s claims are barred, in whole or in part, by the applicable statute of limitations.

                                      FOURTH DEFENSE

       DTI’s claims are barred, in whole or in part, by laches.



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                                       FIFTH DEFENSE

        DTI’s claims are barred, in whole or in part, because DTI failed to mitigate its damages,

if any. For instance, DTI could have chosen to sell Hyundai-compatible parts, rather than

importing and selling materially different, Hyundai-branded parts purchased outside the Hyundai

authorized chain of distribution.

                                       SIXTH DEFENSE

        DTI’s claims are barred, in whole or in part, because the conduct alleged, even if

assumed to be true (which it is not) was based on independent and legitimate business

justifications.

                                      SEVENTH DEFENSE

        DTI’s claims are barred, in whole or in part, because any actions by Hyundai resulted

from a good faith effort to meet and foster competition, not harm it.

                                      EIGHTH DEFENSE

        DTI’s claims are barred because its alleged damages are speculative and because of the

impossibility of ascertaining the fact and extent of those alleged damages.

                                       NINTH DEFENSE

        Any unlawful conduct, act, or omission of an employee or agent of Hyundai, the

occurrence of which Hyundai expressly denies, was committed by individuals acting ultra vires

and not by or on behalf of Hyundai.

                                       TENTH DEFENSE

        DTI’s claims are barred, in whole or in part, because DTI would be unjustly enriched if it

were allowed to recover any part of the damages alleged in DTI’s Counterclaims.




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                                    ELEVENTH DEFENSE

       DTI’s claims are barred, in whole or in part, by the equitable doctrine of unclean hands.

                                     TWELFTH DEFENSE

       DTI’s claims are barred, in whole or in part, because an award of treble damages against

Hyundai based on the conduct alleged in DTI’s Counterclaims would violate the due process

clauses of the Fifth and Fourteenth Amendments of the Constitution of the United States.

                                   THIRTEENTH DEFENSE

       DTI’s claims are barred, in whole or in part, by the doctrines of estoppel and waiver.

                                  FOURTEENTH DEFENSE

       DTI’s claims are barred, in whole or in part, because some of the alleged conduct of

Hyundai that is the subject of DTI’s Counterclaims and allegedly supports such claims occurred

outside the United States and was neither directed to nor affected persons or entities in the

United States.

                                    FIFTEENTH DEFENSE

       DTI’s claims are barred, in whole or in part, because the injuries alleged in DTI’s

Counterclaims, the fact and extent of which are expressly denied by Hyundai, were directly and

proximately caused by or contributed to by the statements, acts or omissions of DTI or third

persons or entities unaffiliated with Hyundai. To the extent that Hyundai is found liable for

damages, those damages must be reduced in proportion to Hyundai’s degree of fault.

                                    SIXTEENTH DEFENSE

       DTI’s’ damages, if any, resulted from the acts or omissions of third parties over whom

Hyundai had no control or responsibility. The acts of such third parties constitute intervening or

superseding causes of the harm, if any, suffered by Plaintiffs.




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                                  SEVENTEENTH DEFENSE

       DTI’s claims are barred, in whole or in part, to the extent that it seek damages that are

duplicative of damages sought under multiple different statutes.

                                   EIGHTEENTH DEFENSE

       Without admitting the existence of any contract, combination, or conspiracy in restraint

of trade, Hyundai avers that it is entitled to set off any amounts paid to DTI by any other third

parties who may have settled, or do settle, with DTI over the same or similar such contracts,

combinations, or conspiracies as those alleged in DTI’s Counterclaims.

                                   NINETEENTH DEFENSE

       DTI’s claims for injunctive relief are barred, in whole or in part, insofar as DTI seeks to

enjoin alleged events that have already transpired without the requisite showing of threatened

future harm or continuing harm.

                                    TWENTIETH DEFENSE

       DTI’s claims are barred, in whole or in part, by DTI’s failure to take all necessary,

reasonable and appropriate actions to avoid the injuries and damages alleged in DTI’s

Counterclaims, the fact and extent of such injuries and damages being expressly denied by

Hyundai.

                                  TWENTY-FIRST DEFENSE

       To the extent DTI claims for relief and allegations seek to reach, apply to, or are based on

purchases of Hyundai-branded replacement parts outside the United States, DTI’s claims are

barred, in whole or in part, by the Foreign Trade Antitrust Improvements Act. Such purchases

do not constitute import trade or commerce; do not have a direct, substantial, and reasonably

foreseeable effect on trade or commerce which is not trade or commerce with foreign nations or




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on import trade or commerce; and do not, and cannot, give rise to a claim under the Sherman

Act.

                                     TWENTY-SECOND DEFENSE

         DTI’s claims are barred, in whole or in part, by the Foreign Commerce Clause of the

United States Constitution.

                                  TWENTY-THIRD DEFENSE

         DTI’s claims are barred, in whole or in part, to the extent they are based on alleged acts,

conduct or statements that are specifically permitted by law.

                                 TWENTY-FOURTH DEFENSE

         Hyundai maintained a reasonable system of supervision and information gathering to

prevent antitrust violations, enforced that system with reasonable diligence, and did not directly

or indirectly induce the violations alleged in DTI’s Counterclaims and in fact specifically

forbade them.

                                   TWENTY-FIFTH DEFENSE

         DTI’s claims are barred, in whole or in part, by the doctrines of res judicata and/or

collateral estoppel.

                                   TWENTY-SIXTH DEFENSE

         DTI’s claims are barred, in whole or in part, because DTI has not suffered any cognizable

antitrust injury, including but not limited to (a) injury in fact, and (b) any injury proximately

caused by any conduct of Hyundai.

                       TWENTY-SEVENTH AFFIRMATIVE DEFENSE

         Hyundai reserves the right to assert other defenses as discovery proceeds and/or it learns

of facts, or those facts independently develop, that reveal additional affirmative defenses




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Hyundai may assert.

                                TWENTY-EIGHTH DEFENSE

       DTI has failed to plead actionable anticompetitive conduct.

                                 TWENTY-NINTH DEFENSE

       Hyundai has at all times and in all relevant manners acted reasonably, as necessary to

serve legitimate business purposes, in furtherance of trade, in good faith, and with the purpose

and effect of promoting, encouraging, or increasing competition. Hyundai has not acted with the

purpose or intent to suppress or restrain competition.

                                    THIRTIETH DEFENSE

       DTI’s counterclaims are barred because Hyundai’s conduct was proper and had no

adverse effect on competition or restraint of trade in any relevant market.

                                  THIRTY-FIRST DEFENSE

       DTI has failed to plead actionable anticompetitive conduct.

                                THIRTY-SECOND DEFENSE

       Any purported monopoly or monopoly power alleged against Hyundai occurred by virtue

of Hyundai’s superior innovation, skill, foresight, and industry, or was caused by the proper

functioning of the market or by natural market conditions.

                                  THIRTY-THIRD DEFENSE

       Hyundai has not improperly exercised any purported monopoly power against DTI.

                                THIRTY-FOURTH DEFENSE

       Hyundai had no specific intent to engage in attempted monopolization.

                                  THIRTY-FIFTH DEFENSE

       Hyundai has not willfully acquired any purported monopoly or monopoly power, nor has




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it maintained any purported monopoly or monopoly power by exclusionary means.

                                  THIRTY-SIXTH DEFENSE

       Hyundai does not possess the power to control prices or exclude competition in the

alleged relevant market.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request that this Court dismiss DTI’s

Counterclaims and that this Court:

       A. Enter judgement in Hyundai’s favor with respect to each and every claim for relief in

           DTI’s Counterclaims;

       B. Order DTI to pay Plaintiff’s costs and expenses, including attorney’s fees, incurred in

           defending against the Counterclaims and in litigating the claims for relief set forth in

           the operative complaint against DTI to the extent permitted by law; and

       C. Award Hyundai any further relief the Court deems proper.



Respectfully submitted on October 3, 2018.


                                              PILLSBURY WINTHROP SHAW
                                              PITTMAN LLP

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                             CERTIFICATE OF SERVICE

        I hereby certify that on October 3, 2018, the foregoing PLAINTIFFS AND COUNTER-
DEFENDANTS HYUNDAI MOTOR AMERICA, INC. AND HYUNDAI MOTOR
COMPANY’S ANSWER TO DEFENDANT AND COUNTERCLAIMANT DIRECT
TECHNOLOGIES INTERNATIONAL, INC.’S COUNTERCLAIM was filed with the
Clerk of Court using the CM/ECF system, which will automatically send notification of such
filing and serve counsel for all parties.



                                         /s/Kenneth E. Keller
                                         Kenneth E. Keller (Admitted Pro Hac Vice)




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